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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                          §
                                                 §
 FREE SPEECH SYSTEMS, LLC,                       §          Case No. 22 - 60043
                                                 §
                               DEBTOR.           §          Chapter 11 (Subchapter V)
                                                 §

  SHANNON & LEE LLP’S MOTION PURSUANT TO RULE 59 OF THE FEDERAL
      RULES OF CIVIL PROCEDURE FOR REHEARING ON THE ISSUE OF
  DISINTERESTEDNESS WITH RESPECT TO THE DEBTOR’S APPLICATION TO
                     EMPLOY SHANNON & LEE LLP

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS
SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

          Shannon & Lee LLP (“S&L”) hereby moves pursuant to Rule 59 of the Federal Rules of

Civil Procedure (the “Federal Rules”), made applicable by Rule 9023 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), for rehearing to present additional evidence on

the issue of disinterestedness with respect to the Debtor’s Application to Employ S&L. In support

of this motion (the “Motion”), S&L respectfully states as follows:

                    BACKGROUND AND PRELIMINARY STATEMENT

          1.    On August 20, 2022, Free Speech Systems, LLC (“FSS”), the debtor and debtor-

in-possession in the above captioned case, filed its Application of Debtor for an Order (A)
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Authorizing Employment of Shannon & Lee LLP as Bankruptcy Co-Counsel for the Debtor, and

(B) Granting Related Relief [ECF No. 85] (the “S&L Employment Application”). FSS sought to

employ S&L to “be primarily responsible for the day-to-day management of the case, issues

involving the Sandy Hook Litigation, and all routine activities typical to the Chapter 11 Case.”

S&L Employment Application ¶ 22. FSS sought to retain The Law Offices of Ray Battaglia (the

“Battaglia Firm”) to “provide legal advice regarding strategy for the Chapter 11 Case and

implementation of that strategy.” Id.

       2.      The U.S. Trustee objected to the S&L Employment Application on September 12,

2022, and filed an amended objection on September 14, 2022 [ECF No. 154] (the “UST

Objection”). The Sandy Hook Plaintiffs joined the amended UST Objection on September 15,

2022 [ECF No. 159]. FSS replied to the UST Objection on September 16, 2022 [ECF No. 166].

       3.      The UST Objection argued that the Court should deny the S&L Employment

Application because of the failure of S&L partner Kyung Lee to supplement his disclosures

required under Bankruptcy Rule 2014 in the cases of (the “IW Cases”) of InfoW, LLC, IWHealth,

LLC, and Prison Planet, LLC (the “IW Debtors”) to reflect that he had begun working for FSS

prior to the dismissal of those cases. The UST Objection did not dispute that S&L was disinterested

in FSS’s chapter 11 case, but rather argued that it was “appropriate for the Court to exercise its

broad discretion under Section 327(a) to address Attorney Lee’s prior acts in the related cases—

which this case is essentially a continuation of—and deny the S & L Application.” UST Objection

¶ 51. FSS’s reply addressed this argument.

       4.      The Court held a hearing on the S&L Employment Application on September 20,

2022 (the “September 20 Hearing”). No party-in-interest contended that S&L held an interest

adverse to the FSS bankruptcy estate and the issue was not raised before the close of evidence.



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The UST Objection did not assert that S&L was disinterested or assert that the firm held an interest

adverse to the FSS bankruptcy estate. As FSS asserted in its opening statement, there was no

dispute as to disinterestedness at that time. The Court also stated that the focus of the hearing and

the evidence should be on the non-disclosures in the IW Cases. According to the Court:

               And I'm going to tell you something because I want you to engage
               in a dialogue with me. The concern, when you really boil it down, I
               think you're looking at this too -- you know, looking at this kind of
               through a check the box perspective, right? If the behavior, the non-
               disclosures began in one case and [if] there are potential conflicts
               through acts that Mr. Schwartz and Mr. Lee have taken that continue
               into this case, then the history is important.

               For example, if, for example, you know, Mr. Lee or Mr. Schwartz's
               relationship with Mr. Jones or PQPR is concerning, it raises an
               issue as to whether either one of them can provide sound legal
               advice to the estate or sound financial advice to the estate, then the
               history is important, right?

               So you can't just -- I understand your point that if there's a lack of
               disclosure in one case, you should look at it as that case and it
               shouldn't essentially carry forward as a penalty into the new case.
               The question is, is there a throughline essentially; that's the question
               that you've got to answer today, at least that's where I'm focused on.

               If you’re asking me, you know, how I . . . think about it, that’s the
               way I think about it. So, for example, so when Mr. Lee is working -
               - I think you described in May, and Mr. Schwartz are working in late
               May and have decided that there's no hope for InfoW, what do I do
               with the fact that there's a pleading filed with me in this case that
               says on June 2nd, the Debtor is still considering all options, right?

               ***

               How then do I view that, right? That's the real question, right, and
               whether that, the changing of the jersey in essence, you know,
               whether that had already occurred, but no one told me, right. And
               so, that's the, hey, we're still considering all options, hey, as a
               fiduciary, we're thinking about everything, and five days later,
               you're in a meeting in Austin, you know, with the two plan funding
               sources in the current case.

               ***


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                  The question is does that carry, right, into FSS and into this case and
                  it should be judged into FSS. And I know that that's where the
                  evidence is; I'm just telling you the way I'm thinking about this now.
                  So as arguments get made, that's the way I -- that's what I'm thinking
                  about.

Hrg. Tr. 27:12-29:12. And despite the Court’s invitation, the U.S. Trustee did not argue at the

September 20 Hearing that S&L was not disinterested with respect to the FSS bankruptcy estate

or that any relationship Mr. Lee or S&L had with Alex Jones (“AEJ”) or PQPR created a bias

against the interests of the FSS bankruptcy estate.1 Nor did the U.S. Trustee adduce evidence that

S&L or Mr. Lee had any bias with respect to the FSS bankruptcy estate.

         5.       After considering the evidence and the arguments presented, the Court denied the

S&L Employment Application. The core of the Court’s ruling was that pre- and post-petition

actions related to FSS caused S&L to hold an adverse interest to FSS’s bankruptcy estate with

respect to decisions against AEJ or PQPR under the “catch-all” provision of Bankruptcy Code §

101(14)(C). See Hrg. Tr. 236:1-2, 236:13-14, 247:4-5. In addition to the non-disclosure of the

connection to FSS in the IW Cases, the Court found problematic (a) Mr. Lee’s attendance at the

focus group regarding the jury perception of AEJ, Hrg. Tr. 243:18-19; (b) the proposed cash

collateral budget providing for payment AEJ’s travel expenses and security during the Connecticut

Sandy Hook trial, Hrg. Tr. 244:5-12; (c) FSS’s initial proposed payment of all legal fees for

Connecticut state court counsel, Hrg. Tr. 244:21-25; and (d) AEJ’s asserted indemnity, Hrg. Tr.



1
  As indicated in the U.S. Trustee’s opening statement, the only issue raised by the U.S. Trustee was the sanction for
Mr. Lee’s failure to supplement his disclosure in the IW Cases:
                   [A]ll we’re saying here is there was a serious non-disclosure that occurred with
                   this very connection. I think under Rule 2014, there is a proverbial fox that guards
                   the henhouse. What we’re asking is harsh, but, you know, disclosure violations
                   when they occur, you know, sometimes the consequences are harsh. A lot of cases,
                   you might get disqualified. A lot of cases, you lose all your fees. But sometimes,
                   that's what it takes to uphold the integrity of the bankruptcy system and that's why
                   we’re asking for Your Honor to deny the two applications that are before you.
Hrg. Tr. 44:7-15.

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247:14-16. The Court entered the order denying the S&L Application to Employ [ECF No. 182]

(the “Order Denying Employment”) that evening.

       6.      Through this Motion, S&L requests a rehearing to allow S&L to present evidence

regarding these additional issues on disinterestedness raised by the Court. Under Rule 59(a) of the

Federal Rules of Civil Procedure (the “Federal Rules”), made applicable to the S&L Employment

Application by Rule 9023 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

the Court may grant a new hearing “for any reason for which a rehearing has heretofore been

granted in a suit in equity in federal court” is authorized to “take additional testimony” and “amend

findings of fact and conclusions of law or make new ones . . . .” Where a completely new issue is

suddenly raised, a new trial or hearing is required. See Conway v. Chem. Leaman Tank Lines, Inc.,

687 F.2d 108, 111-12 (5th Cir. 1982) (“This Court has limited reversible error from unfair surprise

to situations where a completely new issue is suddenly raised or a previously unidentified expert

witness is suddenly called to testify.”).

       7.      The additional evidence, summarized below, will demonstrate that S&L is

disinterested and has no bias adverse to the FSS estate with respect to issues involving AEJ or

PQPR. S&L has no predisposition hindering its ability to recommend or pursue positions contrary

to AEJ and PQPR. The evidence will address the items Court found problematic, but which S&L

did not address because they were not raised prior to the close of evidence or in the UST Objection.

S&L submits that the additional evidence will show S&L is a “disinterested person” and the S&L

Employment Application should be granted.

       8.      In the alternative, S&L submits that the additional evidence will demonstrate that

S&L neither holds nor represents any adverse interest with respect to the enumerated matters to be

S&L’s primary responsibility as set out in the S&L Employment Application. This consists of (a)



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administrative matters such as preparing and filing of notices, serving pleadings, complying with

the Bankruptcy Local Rules, (b) matters related to enabling the Sandy Hook Litigation to continue

to judgment, and (c) specific matters requested by FSS or lead bankruptcy counsel. S&L submits

that employment on these limited matters is appropriate under Bankruptcy Code § 327(e).

       9.      Bankruptcy Code § 327(e) authorizes the employment of an attorney for a specified

special purpose other than to represent the trustee or debtor-in-possession in conducting the case,

where the attorney previously represented the debtor, the retention is in the best interest of the

estate, and the attorney does not represent or hold an any interest adverse to the to the debtor or to

the estate with respect to the matter on which such attorney is to be employed. Courts have held

that counsel may be employed under section 327(e) to handle discrete bankruptcy issues where

another counsel has been retained to “conduct the case” by formulating the plan of reorganization,

addressing claims, and conducting required investigations.

       10.     As set out below, the additional evidence will demonstrate that S&L is disinterested

with respect to these limited matters. S&L submits that the existing evidence already demonstrates

that S&L represented FSS prior to the petition date, and that S&L’s familiarity with the Sandy

Hook Litigation was essential to enable the Heslin/Lewis Suit and Connecticut Litigation to

continue to judgment. Employment of S&L under section 327(e) is therefore appropriate.

       11.     FSS may not need further services from S&L if it obtains replacement co-counsel

or the contemplated mediation is successful. Even so, however, the Court should consider and

grant the Motion allow S&L to present evidence that would have been presented at the September

20 Hearing if the issue of S&L’s disinterestedness was raised prior to the close of evidence.




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                                                  ARGUMENT

       A. Rehearing to Allow Additional Evidence on the Issue of S&L’s Disinterestedness is
          Appropriate Here.

           12.      Bankruptcy Rule 9023 makes Federal Rule 59 applicable to proceedings under the

Bankruptcy Code.2 Federal Rule 59(a)(1)(B) provides that courts may grant a new trial on some

or all issues after a non-jury trial “for any reason for which a rehearing has heretofore been granted

in a suit in equity in federal court.” Federal Rule 59(a)(2) provides that the court may “open the

judgement if one has been entered, take additional testimony, amend findings of fact and

conclusions of law or make new ones, and direct the entry of a new judgment.”

           13.      Among the reasons for granting a new trial or rehearing is surprise that is

inconsistent with substantial justice. Conway v. Chem. Leaman Tank Lines, Inc., 687 F.2d 108,

111-12 (5th Cir. 1982). The Fifth Circuit Court of Appeals has held that it is reversible error to

deny a Rule 59(a) motion—i.e., a retrial or rehearing is required—where a new issue is suddenly

raised. Id. at 12 (citing F & S Offshore, Inc. v. K.O. Steel Castings, Inc., 662 F.2d 1104, 1108 (5th

Cir. 1981); Shelak v. White Motor Co., 581 F.2d 1155 (5th Cir. 1978)).

           14.      The U.S. Trustee was the only party to file an objection to the S&L Employment

Application, which was joined by the Sandy Hook Plaintiffs. The UST Objection raised only a

single issue—whether the Court should deny the S&L Employment Application under Bankruptcy

Code § 327(a) because attorney Kyung Lee failed to supplement his Bankruptcy Rule 2014

disclosure in the IW Cases to reflect that he had begun providing services to FSS prior to the

dismissal of those cases. The U.S. Trustee did not dispute in the UST Objection or at the September

20 Hearing that S&L is a “disinterested person” in the FSS bankruptcy case or that S&L neither

holds nor represents any interest adverse to the FSS bankruptcy estate.


2
    Under Bankruptcy Rule 9023, a motion under Federal Rule 59 must be brought within 14 days in bankruptcy matters.

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        15.      Bankruptcy Local Rule 9013-1(g) requires parties opposing the entry of relief

requested from the Court to file a response to such motion and provides that Bankruptcy Rule

7008—which, in turn, incorporates Federal Rule 8—applies to such responses.3 Federal Rule

8(b)(6) provides that allegations are deemed admitted if a responsive pleading is required and the

allegation is not denied in a response.

        16.      Based on that, FSS and S&L were not aware that S&L’s disinterestedness was a

disputed issue at the September 20 Hearing. The U.S. Trustee had evaluated the disclosures in the

S&L Application and determined that S&L was a disinterested person. The Plaintiffs—after

obtaining discovery regarding the prepetition negotiations between the FSS and PQPR—did not

dispute that S&L was disinterested. As announced at the September 13, 2022, hearing before the

Court, the Debtor, S&L, and the U.S. Trustee believed that the issues surrounding the S&L

Employment Application centered on the events in May and June of 2022. The only issue raised

or argued by the U.S. Trustee or the Plaintiffs was whether the Court should exercise its discretion

to deny the S&L Employment Application because of Mr. Lee’s failure to supplement his

disclosures in the IW Cases.

        17.      As the Court noted during closing arguments, “nobody’s actually talked about the

fifth circuit standards for retention . . . which was the problem with the pleadings and no one ever

talked about, right, what it means to hold an adverse interest to the debtor or to the estate.” Hrg.

Tr. 211:13-18. While it is appropriate for the Court to raise that issue sua sponte, evidence had

closed. FSS pointed to the relevant evidence in the record—that FSS had refused AEJ’s urgings to

seek extension of the automatic stay to AEJ and instead reached an agreement with the Connecticut



3
  Bankruptcy Local Rule 9013-1(g)(1) does not apply to motions for relief from the automatic stay. However,
Bankruptcy Local Rule 4001-1(a)(10) requires an itemization of issues in dispute or compliance with Federal Rule 8
in responses to motions for relief from stay.

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Plaintiffs to lift the automatic stay to allow their litigation to go forward. Hrg. Tr. 213:19-214:3.

The reason that this was the only evidence in the record was that the issue had not been raised

previously.4

    B. The Additional Evidence Presented at Rehearing Will Demonstrate that S&L Has No
       Material Adverse Interest to the Estate.

        18.      The surprise regarding the issue of disinterestedness and whether S&L has an

interest materially adverse to the interest of the estate at the September 20 Hearing prejudiced the

S&L Employment Application. But for the surprise, S&L would have been able to present

evidence establishing that S&L does not have any material adverse interest to the estate and is a

disinterested person.5

        19.      A professional is not a “disinterested person” if it (a) possesses or asserts any

economic interest that would tend to lessen the value of the bankruptcy estate or that would create

either an actual or potential dispute in which the estate is a rival claimant, or (b) possesses a

predisposition under circumstances that render such a bias against the estate. I.G. Petroleum,

L.L.C. v. Fenasci (In re W. Delta Oil Co.), 432 F.3d 347, 356 (5th Cir. 2005) (quoting In re Roberts,

46 B.R. 815, 827 (Bankr. D. Utah 1985)). The inquiry “speaks in the present tense and only

examines present interests.” In re Empire State Conglomerates, Inc., 546 B.R. 306, 315 (Bankr.

S.D.N.Y. 2016).




4
  S&L’s ability to provide this information at the September 20 Hearing without it being previously was limited. In
the absence of allegations in a proceeding concerning the lawyer’s representation of the client, Rule 1.05(d)(2)(iii)
does not expressly authorize the disclosure of unprivileged client information. While such information could arguably
be revealed under some other provision of 1.05(d)—e.g., implicit authorization or to carry out the representation
effectively—that is open to interpretation. Now that the issue has been raised by the Court’s ruling, however, non-
privileged information can be presented.
5
  The Court indicated in its ruling that Mr. Lee satisfied subsections (A) and (B) of Bankruptcy Code § 101(14). Hrg.
Tr. 236:1-2. The Court ruled, however, that Mr. Lee had a material adverse interest for “any other reason” as set out
in subsection (C) that was imputed on S&L. See Hrg. Tr. 236:13-14.

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       20.     The catchall provision “for any other reason” does not allow for disqualification of

a professional for the mere appearance of conflicts. In re Marvel Entm't Grp., 140 F.3d 463, 477

(3d Cir. 1998); accord In re Contractor Tech., Ltd., Nos. H-05-3212, 05-37623-H1-7, 2006 U.S.

Dist. LEXIS 34466, at *29 (S.D. Tex. May 30, 2006). The question is not whether the connection

or predisposition could be imagined to create bias—it is whether that bias actually exists or would

exist under certain circumstances that could occur. See In re Marvel Entm't Grp., 140 F.3d at 477.

       21.     In its ruling at the September 20 Hearing, the Court noted several issues other than

Mr. Lee’s nondisclosure in the IW Cases that appear to have factored into its determination that

S&L has a material adverse interest to FSS’s bankruptcy estate. S&L requests that the Court grant

a rehearing to allow S&L to present evidence addressing these issues that were not raised prior to

close of the evidence at the September 20 Hearing.

       22.     The additional evidence that S&L seeks admitted into the record at a hearing is set

out below. Based on this additional evidence, S&L submits that the Court should find that S&L is

disinterested and grant the S&L Employment Application, at least for services provided prior to

September 20 Hearing.

          i.   Ability to Provide Impartial Advice with Respect to PQPR’s Asserted Secured
               Claim

       23.     In its ruling, the Court questioned the ability of S&L to be unbiased with respect to

PQPR under the record before it. The additional evidence that S&L seeks to admit at a rehearing

would demonstrate that S&L does not have any predisposition that limits or interferes with the

ability of S&L to provide unbiased advice with respect to PQPR.

                     a) Evidence Regarding Prepetition Analysis of PQPR’s Asserted Secured
                        Claim and Related Negotiations

       24.     The very first work product S&L produced for the Debtor, prior to the Petition Date,

was an analysis of PQPR’s asserted lien and note (the “PQPR Memo”). Subject to obtaining

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permission from FSS to present this privileged document, S&L will seek admission of this

document into evidence at a rehearing.6 After S&L prepared and circulated the PQPR Memo

internally among FSS’s professionals, FSS began negotiations with PQPR. During those

negotiations, S&L emphasized to counsel for PQPR that the alternative to a superior negotiated

solution was an immediate challenge to PQPR’s asserted claim and lien through an avoidance

action in the contemplated bankruptcy case. FSS ultimately negotiated deals with PQPR that were

superior to what FSS could have accomplished by immediately challenging PQPR’s secured claim.

        25.      First, FSS negotiated the Forbearance Agreement attached hereto as Exhibit A.

Under the Forbearance Agreement, the Debtor modified the business relationship set out in the

Memorandum of Understanding attached as Exhibit B. The Forbearance Agreement provided that

(a) PQPR received $2,500 per business day on account of its asserted secured claim and (b) that

FSS would acquire product directly—including $750,000 of product previously paid for by

PQPR—and receive a 90% of the proceeds of the sales (with PQPR receiving 10%). Under the

Memorandum of Understanding that previously governed the relationship between PQPR and

FSS, PQPR received $11,000 per day and 80% of the proceeds (with the Debtor only receiving

20%). FSS believed that PQPR was necessary for its business and the Forbearance Agreement

reflected an outcome that could not have been achieved by challenging PQPR’s claim.

        26.      Second, FSS negotiated with PQPR a consensual cash collateral order which did

not contain any of the traditional and usual protections for a secured lender [ECF No. 6-1]. The

proposed cash collateral order provided that FSS waived no claims against PQPR, did not find that


6
  S&L discussed with Mr. Battaglia, who is serving as the sole counsel for FSS, obtaining authority to disclose this
privileged document as an attachment to this Motion. However, FSS did not have a person in place who could
authorize waiving attorney-client privilege. FSS filed an application to retain Patrick Magill as a replacement chief
restructuring officer on October 3, 2022 [ECF No. 205]. S&L will seek authority from Mr. Magill to disclose the
potentially privileged evidence. The documents attached to this Motion are not privileged because they have been
provided to other parties or presented in this chapter 11 case. Non-privileged information may be disclosed pursuant
to Rule 1.05(d)(2) of the Texas Disciplinary Rules of Professional Conduct.

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PQPR’s lien or debt was valid, and did not place limitations on FSS or any other party with respect

to challenging PQPR’s asserted secured claim. As PQPR’s attorney represented at the August 3,

2022, hearing, PQPR gave up all of the things that it would normally negotiate for. August 3, 2022,

Hrg. Tr. 45:15-16. The proposed cash collateral order was ultimately modified, but there were no

protections to PQPR that were removed.

        27.      Third, there were preliminary discussions among FSS and PQPR about the

possibility of subordinating any unsecured claim of PQPR or otherwise reaching a consensual

resolution on the disputed claim and lien. Avoiding PQPR’s lien but not the entirety of PQPR’s

notes would leave PQPR with a large unsecured claim. Depending on the outcome of the Sandy

Hook Litigation, that amount could exceed the other unsecured claims in the FSS chapter 11 case.7

Under Bankruptcy Code § 726(a)(4)—relevant because of section 1129(a)(7)(ii)—punitive

damages are lower priority than compensatory damages. Working toward agreed subordination of

PQPR’s entire claim or other resolution would result in a better outcome for the FSS bankruptcy

estate and creditors than avoiding PQPR’s lien and leaving PQPR with an unsecured claim.

        28.      Although FSS ultimately reached a better result through negotiations than could

have been accomplished by immediately filing an avoidance action against PQPR, the evidence

S&L seeks to present at a rehearing would demonstrate that S&L has no predisposition that that

limits or interferes with the ability of S&L to provide unbiased advice with respect to PQPR.

                        b) Analysis Regarding PQPR’s Requested Destruction of Information.

        29.      In connection with the negotiations regarding the Forbearance Agreement, PQPR

provided FSS information that PQPR later requested that FSS destroy. S&L analyzed this request



7
 Although not determined at the time of the negotiations with PQPR, compensatory damages for the plaintiffs in the
Heslin/Lewis Suit totaled $4.1 million. Carrying that through to all 19 plaintiffs would result in liability for
compensatory damages totaling $38,950,000.

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and advised the Debtor that the information (a) was not required to be destroyed and (b) should

not be destroyed. The email chain reflecting this analysis is attached hereto as Exhibit C (the

“PQPR P&L Email”).8

           30.     The PQPR P&L Email again demonstrates that S&L has no predisposition that

limits or interferes with the ability of S&L to provide unbiased advice with respect to PQPR.

S&L’s conclusion was that FSS was not required to and should not destroy the information

provided by PQPR provided despite PQPR’s demand. Further, S&L advised maintaining any

privilege with respect to the information if asserted by PQPR, demonstrating that S&L was not

biased against PQPR.

                          c) Scheduling PQPR’s Asserted Secured Claim as Disputed

           31.     FSS indicated on its schedules of assets and liabilities filed in this case [ECF No.

121] (the “Schedules”) that PQPR’s asserted secured claim was disputed. S&L advised FSS—

through its then-proposed CRO March Schwartz—with respect to this matter. Subject to obtaining

permission from FSS to disclose the confidential advice provided, S&L will seek to admit evidence

with respect to S&L’s advice.

           32.     S&L contends that the contents of the advice provided with respect to the

characterization of PQPR’s claim as disputed on the Schedules would demonstrate that S&L has

no predisposition that limits or interferes with the ability of S&L to provide unbiased advice with

respect to PQPR, including matters related to the allegations of the Plaintiffs. Further, the outcome

of listing the claim as disputed indicates that together, S&L and Schwartz had no conflict

preventing them from taking positions contrary to PQPR.




8
    This communication was not privileged because the conclusion was provided to AEJ’s bankruptcy attorney.

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           ii.      Ability to Provide Impartial Advice with Respect to Alex Jones

        33.         The Court also indicated that it had concerns about S&L’s disinterestedness with

respect to issues adverse to AEJ based on the record. S&L seeks through this Motion to present

evidence demonstrating that S&L does not have any predisposition that limits or interferes with

the ability of S&L to provide unbiased advice with respect to AEJ.

                         a) S&L’s Analysis of Requested Extension of the Stay by Alex Jones
                            Regarding Connecticut Litigation

        34.         On August 2, 2022, the Connecticut Superior Court ruled that jury selection in the

Connecticut Litigation could continue. In essence, the Connecticut Superior Court bifurcated the

trial and was continuing only with respect to AEJ, despite not formally severing the actions against

FSS. A copy of the transcript is attached hereto as Exhibit D (the “August 2 Connecticut

Transcript”).

        35.         That got lost in translation from state court counsel. What FSS’s proposed

bankruptcy professionals were told was that the Connecticut state court was continuing with jury

selection despite not severing FSS from the case.9 While technically true, it missed the crux of the

Connecticut Superior Court’s action. The Connecticut counsel filed a notice of removal of the

Connecticut litigation to prevent what appeared to be a violation of the automatic stay and to enable

a single trial.10

        36.         On August 15, 2022, the U.S. Bankruptcy Court for the District of Connecticut (the

“Connecticut Bankruptcy Court”) remanded the removed Connecticut Litigation. S&L represented

FSS in the remand hearing. Despite remanding the case, the Connecticut Bankruptcy Court did not


9
  Mr. Battaglia referenced this confusion at the September 20 Hearing. Hrg. Tr. 220:14-18 (“Even the removal that
was done of the Connecticut litigation was done with great hesitance and reluctance on our part but only because it
was unclear what the Connecticut court had done, vis-à-vis FSS. Not Alex Jones -- FSS.”).
10
   As reflected in the August 2 Connecticut Transcript (Ex. D), FSS had determined not to remove the Connecticut
Litigation prior to its misunderstanding of the Connecticut Superior Court’s ruling. August 2, 2022 Hrg. Tr 13:14-16.

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award fees against FSS. The Connecticut Bankruptcy Court’s order of remand is attached hereto

as Exhibit E (the “Remand Order”).

        37.     After the Remand Order was entered, counsel for AEJ requested that FSS seek a

stay of the Remand Order and take other action with respect to the Connecticut Litigation,

including extending the automatic stay to AEJ. Mr. Shannon initially responded to this request as

indicated in the email dated August 16, 2022—a copy of which is attached hereto as Exhibit F—

informing AEJ’s counsel that:

                a) FSS would not have removed if it was aware that the Connecticut Superior
                   Court was in effect bifurcating the trial;

                b) There were reasons against extending the automatic stay, including that (i)
                   separating claims against AEJ and FSS may be possible in Connecticut where
                   it was not in Texas, (ii) the standard for extension of the stay to under applicable
                   law did not appear to be met, (iii) it would harm FSS’s position with respect to
                   a then-yet-to-be-filed motion to appoint a tort committee and result in additional
                   costs to the FSS bankruptcy estate, and (iv) estate funds might be better used
                   litigating in Connecticut rather than the costs of seeking to extend the stay and
                   the distraction from important restructuring matters was not worth it; and

                c) FSS needed to focus on things that would preserve and increase the value of the
                   estate rather than incurring expenses fighting the Plaintiffs.

Mr. Shannon informed AEJ’s attorney that he could not advise FSS’s proposed CRO that seeking

a stay would accomplishing anything other than incurring expenses for the estate.

        38.     AEJ’s attorney vigorously pursued his client’s interests against FSS in response.

As reflected in the August 16, 2022, email attached hereto as Exhibit G, AEJ’s attorney stressed

that he would “leave it to the Debtor[] to decide how to keep Alex supporting the efforts.”11 But

notwithstanding AEJ’s threats to walk off the job and cease supporting FSS’s sales efforts, FSS

did not cave, adopted S&L’s recommendation, and decided that it would not (a) seek a stay of the



11
 These negotiations with AEJ and his counsel were among those referenced by Mr. Battaglia at the September 20
Hearing. Hrg. Tr. 220:19-221:3.

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Remand Order, (b) move to extend the automatic stay to AEJ with respect to the Connecticut

Litigation, or (c) seek a Bankruptcy Code § 105 stay.12

         39.      S&L’s preliminary response to the request of AEJ’s attorney to seek a stay of the

Remand Order and extension of the automatic stay—and FSS’s ultimate decision to adopt S&L’s

recommendation despite pressure from AEJ—demonstrates that S&L has no predisposition

limiting or interfering with S&L’s ability to provide unbiased advice on behalf of FSS with respect

to AEJ. S&L took contrary positions to AEJ because doing so was in the best interests of FSS’s

bankruptcy estate.

                         b) S&L’s Analysis of Indemnity Asserted by Alex Jones

         40.      Another example of S&L’s lack of any predisposition preventing unbiased advice

with respect to AEJ is S&L’s evaluation of AEJ’s asserted indemnity claim.13 Although the

asserted indemnity had not been challenged by any other party-in-interest, S&L analyzed the issue

and advised Mr. Battaglia and Mr. Schwartz of its conclusions in an email dated August 6, 2022.

Subject to obtaining permission from FSS to disclose the privileged advice provided, S&L will

seek to admit the August 6, 2022, email regarding that advice.

         41.      Separate from the analysis provided on August 6, 2022, issues with AEJ’s asserted

indemnity claim were referenced in S&L’s August 16, 2022, email (Ex. F) in response to AEJ’s

requested stay of the remand order and extension of the automatic stay. Mr. Shannon informed

AEJ’s counsel that: “I know that you have asserted an indemnity claim for Alex Jones, but it’s not

in any of the documents prior to April 2022 . . . .”



12
   The final decision was reached after additional research into the issue and discussion among all of FSS’s legal and
financial advisory team. There was some support to take the actions demanded by AEJ, but FSS determined that
seeking that relief was not in the best interests of its bankruptcy estate.
13
   Prior to the petition date, AEJ asserted the indemnity claim as a cross claim in the Connecticut Litigation. AEJ
further filed Proof of Claim No. 1 in the FSS chapter 11 case asserting the indemnity claim.

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        42.      S&L contends that the August 16 email (Ex. F) and the contents of the August 6

email, if the privilege is waived, will demonstrate that S&L has no predisposition limiting or

interfering with S&L’s ability to provide unbiased advice with respect to AEJ. S&L is not and was

not biased to assume that AEJ’s asserted indemnity was valid.

          iii.   Mr. Lee’s Participation in Focus Group on Jurors’ Perception of Alex Jones

        43.      The Court noted in its ruling that Mr. Lee participated in a focus group and jury

perception of AEJ and that he did not separate his time for work performed for FSS or any other

party. Tr. 243:15-24. This referenced work provided on July 1, 2022, and reflected in FSS’s Exhibit

8 [ECF No. 163-8]. S&L seeks to present evidence that these services were provided solely for

FSS.

        44.      Mr. Lee was not providing these services—related to the Heslin/Lewis Suit—for

any party other than FSS. As reflected in the order of the U.S. Bankruptcy Court for the Western

District of Texas attached hereto as Exhibit H, InfoW, LLC was no longer a defendant in the Texas

case to which the focus group was related.14 Further, the order of the Travis County District Court

attached hereto as Exhibit I shows that the Travis County court had found that the Alex Jones and

FSS were alter egos with respect to the claims therein.15 Jurors’ perception of AEJ was directly

relevant to the ultimate damages award against FSS.




14
  The other IW Debtors were never defendants in the Heslin/Lewis Suit.
15
  The Travis County District Court’s order stated:
                  The Court finds that pursuant to the default judgment, Alex Jones and Free Speech
                  Systems, LLC are admitted to be alter egos. Even absent the default judgment, the
                  Court notes that the record supports a finding that Alex Jones and Free Speech
                  Systems, LLC are alter egos. The Court further finds that both Mr. Jones and Free
                  Speech Systems, LLC are both “a party ... whose conduct necessitated the motion”
                  under Rule 215.l(d).
Based on this finding, the jury’s perception of AEJ in the Texas Litigation directly impacts FSS.

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        45.      S&L submits that this additional evidence would demonstrate that Mr. Lee’s

participation in the focus group does not indicate any predisposition interfering with or limiting

S&L’s ability to provide unbiased advice to the FSS estate. Critical issues in the first month of the

chapter 11 case involved whether FSS should obtain on its own motion or consent to relief from

the automatic stay for actions against FSS in which AEJ is a co-defendant. The effect of AEJ’s

presence in the case against FSS was critical to that evaluation. Further, the IW Debtors were no

longer parties to the lawsuits and neither S&L or any of its attorneys have ever represented AEJ.

          iv.    $80,000 for AEJ Travel and Security Proposed in Interim Cash Collateral Budget

        46.      The Court noted in its ruling that the approximately $80,000 in travel expenses for

AEJ provided for in the FSS proposed cash collateral budget was concerning. Hrg. Tr. 244:5-13.

The Court was referring to the proposed order filed on September 13, 2022 [ECF No. 148] (the

“September 13 Proposed Cash Collateral Order”). The Court questioned who was negotiating on

behalf of the estate with respect to this amount. Hrg. Tr. 244:14-18. S&L seeks to present

additional evidence showing that (a) S&L neither prepared, filed, nor presented the September 13

Proposed Cash Collateral Order to the Court and (b) the approximately $80,000 for travel expenses

was significantly less than the first estimate of costs that FSS would incur to continue to trial in

Connecticut and the reduction was the result of significant negotiations in which S&L participated.

        47.      S&L was not directly involved in preparing, submitting, or presenting to the Court

the September 13 Proposed Cash Collateral Order. The Battaglia Firm advised FSS with respect

to the September 13 Proposed Cash Collateral Order, filed the proposed order with the Court, and

presented the proposed order to the Court at the September 13, 2022, hearing before the Court.16



16
  At the September 13 hearing, S&L updated the Court with respect to the status report required by Bankruptcy Code
§ 1188(c) and the issues raised with respect to the U.S. Trustee’s objections to the applications for employment of
S&L and Schwartz & Associates.

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       48.     S&L was, however, involved in reducing the total costs and lost revenue of

continuing the Connecticut Litigation for the benefit of FSS’s bankruptcy estate. To determine

FSS’s position with respect to the Connecticut Plaintiffs’ motion for relief from stay [ECF No. 15]

(the “Connecticut Lift Stay Motion”), Schwartz & Associates prepared a framework (the

“Connecticut Trial Cost Framework”) of the costs that FSS would incur to simultaneously (a)

allow AEJ to attend the entire trial as demanded by AEJ and (b) not interfere with the business of

FSS. Schwartz & Associates LLC prepared this document based on FSS’s typical practice

regarding travel. It was immediately clear that this was not practicable. Subject to obtaining

permission from FSS to disclose the Connecticut Trial Cost Framework, S&L will seek to admit

the document as evidence.

       49.     To reduce the costs to FSS’s bankruptcy estate of allowing the Connecticut

Litigation to continue to judgment, FSS’s proposed professionals focused their efforts on reducing

the amount of time that AEJ would spend at the Connecticut trial rather than conducting his show

and generating revenue for FSS. The trial in Connecticut was going to proceed at a minimum

against AEJ because FSS had decided that it was not going to seek to extend the automatic stay to

AEJ on that matter. As reflected in the August 17, 2022, email from AEJ’s bankruptcy attorney

attached hereto as Exhibit J, however, AEJ desired to attend the entire Connecticut trial and would

not be available to host his show for FSS in that event. This required negotiations with both AEJ

and the Connecticut Plaintiffs. In exchange for AEJ giving up his right to be present at the entire

trial, FSS decided that it was willing to pay AEJ’s travel expenses.

       50.     These negotiations were conducted largely in connection with the Connecticut Lift

Stay Motion. In the agreed order lifting the stay [ECF No. 117] (the “Connecticut Lift Stay

Order”), AEJ was required to attend for “three trial days (not counting Mondays, which are not



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evidence days).” This avoided many of the issues raised by FSS in its response to the Lift Stay

Motion and the possibility of having two jury trials in Connecticut that would require additional

absences of AEJ from conducting his show for FSS and earning revenue for the FSS bankruptcy

estate.17

         51.      S&L submits that this additional evidence would demonstrate that the

approximately $80,000 in the September 13 Proposed Cash Collateral Order does not indicate that

S&L has any predisposition limiting or interfering with its ability to provide unbiased advice with

respect to FSS’s estate. S&L was not involved directly in preparing the September 13 Proposed

Cash Collateral Order but was involved with substantially reducing the estimated cost of the

Connecticut Litigation for the benefit of the FSS bankruptcy estate.

            v.    Initial Proposed Employment of Special Litigation Counsel with FSS Paying 100%
                  of the Legal Fees.

         52.      The Court also referenced in its ruling that FSS initially sought to pay 100% of the

legal fees of special litigation counsel representing both FSS and AEJ in the Connecticut

Litigation. Hrg. Tr. 244:19-245:4. S&L seeks to present additional evidence that this issue was

negotiated with AEJ and that FSS—through S&L—first took the position that FSS should only be

responsible for a portion of the legal fees.

         53.      As set out above, AEJ wanted FSS to extend the automatic stay to the Connecticut

Plaintiffs claim against AEJ. Mr. Shannon responded that this did not appear to be a good use of

estate resources. In that initial response to AEJ’s attorney rejecting the demand to prevent the

Connecticut Litigation from continuing against AEJ, Mr. Shannon noted that: “From your client’s




17
   The Connecticut Plaintiffs has taken the position that their claims against FSS are 28 U.S.C. § 157(b)(5) personal
injury tort claims requiring a jury trial. If there were two trials, FSS would lose revenue from AEJ needing to attend
as a witness twice. As reflected in the Connecticut Trial Cost Framework, FSS estimated that each day AEJ was off
the air cost FSS more than $40,000.

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perspective, the better course of action might be better for the Debtor to also litigate in Connecticut

and bear some of the cost.” Ex. F (emphasis added). AEJ’s attorney vigorously represented his

client’s interest, stating that he would “leave it to the Debtor[] to decide how to keep Alex

supporting the efforts[,]” Ex. G, and pointedly asking about the “Debtor[’s] [p]lan when Alex sales

go dark because he is in trial Connecticut[,]” Ex. J.

        54.      Employment of Connecticut state court counsel was a major issue that needed to be

addressed for the Connecticut Litigation to continue against both FSS and AEJ. Mr. Lee suggested

that AEJ should pay some portion of the legal fees as reflected in the August 19-22, 2022, emails

attached as Exhibit K.

        55.      Through his bankruptcy counsel, AEJ asserted that FSS was required to pay for the

representation if it had the funds to do so under FSS’s indemnity of AEJ, as reflected in the August

19-22, 2022, emails.18 While AEJ’s asserted indemnity may ultimately be disputed, AEJ had

significant leverage in these negotiations because (a) the compressed timeline to reach an

agreement with the Connecticut Plaintiffs, (b) AEJ had the ability to prevent employment of the

state court counsel by withholding his consent to the dual representation, (c) AEJ had the individual

right to attend the entire trial in the Connecticut Litigation and cease conducting his show for FSS,

and (d) Connecticut Plaintiffs required AEJ’s agreement to certain aspects of the Connecticut Lift

Stay Order. AEJ had the ability to block FSS from agreeing to lift the automatic stay on terms it




18
  AEJ’s employment contract, a copy of which is attached hereto as Exhibit L, indicates that:
                  Employer agrees to indemnify and holder harmless, and furnish and pay counsel
                  of Employees choice, in the event that claims or suit are brought against Alex
                  Jones arising out of his performance of this Employment Agreement, unless such
                  claims are established by clear and convincing evidence to have arising from Alex
                  Jones[’s] actual fraud.
As indicated in the August 16, 2022, email from Mr. Shannon (Ex. F), S&L raised questions about the scope of this
indemnity in negotiations with AEJ. AEJ asserted that the indemnity and/or common law indemnity covers the legal
costs for the Connecticut Litigation.

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could agree to with the Connecticut Plaintiffs and force a contested hearing on the Connecticut

Lift Stay Motion.

       56.     Under these circumstances, FSS decided to file the applications to employ special

counsel with FSS bearing 100% of the legal costs to enable FSS to agree to the Connecticut Lift

Stay Motion. The evaluation was that, even paying the full legal costs, the deal reflected in the

Connecticut Lift Stay Order was better for FSS’s bankruptcy estate than litigating to conclusion

(a) the Connecticut Lift Stay Motion, (b) a proceeding determining whether the Connecticut

Plaintiffs claims were section 157(b)(5) personal injury tort claims, and (c) a subsequent estimation

motion. When the Court and U.S. Trustee brought up the issue of FSS paying the full amount of

the legal fees, FSS—through S&L—used this additional negotiating leverage to reopen

negotiations with AEJ and obtain an agreed sharing of the legal costs. FSS did not adopt AEJ’s

assertion that FSS was required to pay these amounts.

       57.      S&L submits that this additional evidence would demonstrate that FSS’s initial

proposed retention terms of the special litigation counsel does not indicate that S&L has any

predisposition limiting or interfering with its ability to provide unbiased advice with respect to

FSS’s estate. The evidence indicates that that the predisposition of S&L attorneys was that AEJ

should pay a portion of the legal costs related to the Connecticut Litigation. The evidence would

also show that when FSS had additional leverage, S&L used that leverage to obtain a division of

the legal fees for the benefit of FSS’s estate despite AEJ’s asserted indemnity.

   C. In the Alternative, Additional Evidence will Demonstrate that S&L Has No Material
      Adverse Interest to the Estate Regarding the Limited Matters to Be S&L’s Primary
      Responsibility in the S&L Employment Application.

       58.     S&L submits that the additional evidence will establish that S&L has no

predisposition that renders a bias against FSS’s estate. If, however, the Court is not convinced by

the additional evidence that S&L is disinterested on all matters that might arise in the case, the
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additional evidence will nonetheless demonstrate that S&L had no predisposition that renders a

bias against the estate with respect to the limited matters set out as S&L’s primary responsibility

in the S&L Employment Application. FSS sought to retain S&L for routine activities in the case

and issues involving the Sandy Hook Litigation. S&L Employment Application ¶ 22. The Battaglia

Firm was to have primary responsibility regarding strategy and implementation of that strategy.

Id.

        59.      If not approved under Bankruptcy Code § 327(a), the employment of S&L is

appropriate under Bankruptcy Code § 327(e) for the limited purposes set out in the S&L

Employment Application related to (a) administrative matters such as the preparing and filing of

notices, serving pleadings, and complying with local rules requirements, (b) matters related to

enabling the Sandy Hook Litigation to continue to judgment, and (c) specific matters requested by

FSS or lead bankruptcy counsel. Section 327(e) authorizes the employment of an attorney for a

specified special purpose other than to represent the trustee or debtor-in-possession in conducting

the case, where the attorney previously represented the debtor, the retention is in the best interest

of the estate, and the attorney does not represent or hold an any interest adverse to the to the debtor

or to the estate with respect to the matter on which such attorney is to be employed.19

        60.      Courts have interpreted “conducting the case” to focus on the preparation of the

chapter 11 plan, liquidating the estate, and assisting in the claims objection process. In re Hart Oil

& Gas, Inc., No. 11-12-13558 TA, 2013 Bankr. LEXIS 3128, at *8 (Bankr. D.N.M. Aug. 2, 2013)

(collecting cases); see also 3 Collier on Bankruptcy ¶ 327.04[9][c] (16th 2022) (“The reference to

‘conducting the case’ in section 327(e) includes those matters that form a part of the administration


19
  Although the S&L Employment Application asserted that employment was appropriate under Bankruptcy Code §
327(a), it did not specify the subsection of section 327 under which the employment was sought. A professional that
meets the requirements for employment under section 372(a) necessarily also meets the requirements under section
327(e).

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of the case under the Code. In a reorganization case, these matters include assisting in formulating

a plan and assisting the trustee in carrying out required investigations . . . .).” Where there is another

attorney serving as general bankruptcy counsel, special counsel may be retained for limited

bankruptcy matters including obtaining court approval for the use of cash collateral, including

obtaining approval for the use of cash collateral, selling assets and disposing of related executory

contracts, and preparing and negotiating a key employee retention program and providing payment

to critical personnel of the Debtor. Stapleton v. Woodworkers Warehouse, Inc. (In re Woodworkers

Warehouse, Inc.), 323 B.R. 403, 408 (D. Del. 2005).

        61.     The additional evidence would establish that S&L does not hold any predisposition

that renders a bias against FSS’s estate with respect to its efforts and work on administrative

matters unrelated to preparing a plan of reorganization or carrying out the required investigations

or S&L’s actions that allowed the Sandy Hook Litigation to continue in the respective state courts.

The Court should allow S&L to present this additional evidence at a rehearing and, upon such

evidence, authorize S&L’s employment by the Debtor for such limited purpose prior to the

September 20 Hearing.

        62.     S&L submits that the existing evidence already establishes that other elements

required for S&L’s employment under Bankruptcy Code § 327(e). The existing evidence

establishes that S&L was first retained by FSS prior to the petition date. Further, the evidence

already submitted establishes that the employment of S&L to represent the estate on the limited

matters set out above was in the best interests of the FSS bankruptcy estate. Mr. Battaglia

represented to the Court that S&L’s services were necessary to allow Mr. Battaglia to handle the

case. S&L’s familiarity with the Sandy Hook Litigation also enabled the Debtor to move for or




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agree to lifting of the with respect to sixteen of the nineteen Sandy Hook Litigation claims within

the first month of this chapter 11 case.

                                           CONCLUSION

       63.     For the reasons set out above, S&L requests that the Court grant the Motion and set

a rehearing on the S&L Employment Application to allow additional evidence on the issue of

S&L’s disinterestedness. Even if FSS determines that it should go with alternative co-counsel to

assist the Battaglia Firm, S&L should be allowed an opportunity to present evidence regarding

disinterestedness with respect to the services it provided prior to September 20, 2022.



Dated: October 4, 2022.                      SHANNON & LEE LLP

                                              /s/R. J. Shannon
                                              Kyung S. Lee
                                              State Bar No. 12128400
                                              klee@shannonleellp.com
                                              R. J. Shannon
                                              State Bar No. 24108062
                                              rshannon@shannonleellp.com
                                              700 Milam Street, STE 1300
                                              Houston, Texas 77002
                                              Tel. (713) 714-5770



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served (a) at
the time of filing, by the Electronic Case Filing System for the United States Bankruptcy Court for
the Southern District of Texas on all parties registered to receive such service and (b) within 24
hours of the filing, on the parties on the attached service list by U.S.P.S. first class mail.


                                                             /s/R. J. Shannon                 .
                                                             R. J. Shannon




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                                     SERVICE LIST
Debtor and Counsel
  Free Speech Systems, LLC                     Attn: Ray Battalia
  3019 Alvin Devane Blvd., STE 300             Law Offices of Raymond W. Battaglia
  Austin, TX 78741                             66 Granburg Cir.
                                               San Antonio, TX 78218

Twenty Largest Unsecured Creditors
  Elevated Solutions Group
  28 Maplewood Drive                           Edgecast, Inc
  Cos Cob, CT 06870                            Dept CH 18120
                                               Palatine, IL 60055
  Christopher Sadowski
  c/o Copycat Legal PLLC                       Ready Alliance Group, Inc
  3111 N. University Drive STE 301             PO Box 1709
  Coral Springs, FL 33065                      Sandpoint, ID 83864

  Atomial LLC                                  Getty Images, Inc
  1920 E. Riverside Dr.                        PO Box 953604
  Suite A-120 #124                             St. Louis, MO 63195-3604
  Austin, TX 78741
                                               RatsMedical.com
  Cloudflare, Inc                              c/o Rapid Medical
  Dept LA 24609                                120 N Redwood Rd
  Pasadena, CA 91185-4609                      North Salt Lake, UT 84054

  Jacquelyn Blott                              David Icke Books Limited
  200 University Blvd                          c/o Ickonic Enterprises Limited
  Suite 225 #251                               St. Helen's House King Street
  Round Rock, TX 78665                         Derby DE1 3EE
                                               United Kingdom
  Joel Skousen
  PO Box 565                                   WWCR
  Spring City, UT 84662                        1300 WWCR Ave
                                               Nashville, TN 37218-3800
  eCommerce CDN, LLC
  221 E 63rd Street                            JW JIB Productions, LLC
  Savannah, GA 31405                           2921 Carvelle Drive
                                               Riviera Beach, FL 33404
  Paul Watson
  9 Riverdale Road                             CustomTattoNow.com
  Ranmoor Sheffield                            16107 Kensington Dr. #172
  South Yorkshire S10 3FA                      Sugar Land, TX 77479
  United Kingdom
                                               AT&T
  Brennan Gilmore                              PO Box 5001
  c/o Civil rights Clinic                      Carol Stream, IL 60197-5001
  600 New Jersey Avenue, NW
  Washington, DC 20001                         Justin Lair
                                               1313 Lookout Ave
  Greenair, Inc                                Klamath Falls, OR 97601
  23569 Center Ridge Rd
  Westlake, OH 44145

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Parties Claiming Interest or Lien Affected
  PQPR Holdings Limited, LLC
  c/o Stephen Lemmon
  1801 S. Mopac Expressway. Suite 320
  Austin, TX 78746

Parties Filing Notice of Appearance
  Ryan E. Chapple Cain & Skarnulis PLLC
  303 Colorado Street, Suite 2850                 Jarrod B. Martin
  Austin, Texas 7870                              Chamberlain Hrdlicka
                                                  1200 Smith Street, Suite
  Randy W. Williams                               1400 Houston, TX 77002
  Byman & Associates PLLC
  7924 Broadway, Suite 104                        Christopher J. Dylla
  Pearland, TX 77581                              Assistant Attorney General
                                                  Bankruptcy & Collections Division
  Attn: Shelby Jordan Jordan & Ortiz, P.C.        PO Box 12548 Austin, TX 78711-254
  500 N. Shoreline Blvd. Suite 900
  Corpus Christi, Texas 78401                     Richard A. Cochrane
                                                  Akin Gump Strauss Hauer & Feld
  John D Malone Attorney at Law                   2300 N. Field Street Suite 1800
  5400 Bosque Blvd., Ste. 650                     Dallas, TX 7520
  Waco, TX 76710
                                                  Stephen A Roberts
  Jason Starks                                    Stephen A Roberts, P.C.
  Travis County Attorney's Office                 1400 Marshall Ln Austin, TX 7870
  P.O. Box 1748
  Austin, TX 78767


Subchapter V Trustee
  Melissa Haselden                                Attn: Elizabeth C. Freeman
  Subchapter V Trustee                            Jackson Walker LLP
  700 Milam, Suite 1300                           1401 McKinney St., STE 1900
  Houston, TX 77002                               Houston, TX 77010


U.S. Trustee
  Attn: Ha M. Nguyen, Jayson B. Ruff
  Office of the U.S. Trustee
  515 Rusk Ave STE 3516
  Houston, TX 77002

Additional Notice Parties
  Attn: Mark Bankson, William Ogden               Attn: Alinor C. Sterlin, Christopher Mattei,
  Kaster Lynch Farrar & Ball, LLP                 Matthew Blumenthal
  1117 Herkimer Street                            Koskoff Koskoff & Bieder
  Houston, TX 77008                               350 Fairfield Avenue
                                                  Bridgeport, CT 06604



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